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                        Exhibit I
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN


 TIMOTHY BOZUNG, individually and on
 behalf of all others similarly situated,      Case No. 1:22-cv-00304-HYJ-RSK

                                              Honorable Hala Y. Jarbou
                   Plaintiff,
                                               PLAINTIFF’S MOTION
       v.
                                               JURY TRIAL DEMANDED
 CHRISTIANBOOK, LLC f/k/a
 CHRISTIAN BOOK DISTRIBUTORS
 CATALOG, LLC,


                   Defendant.

  REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR RELIEF FROM
 JUDGMENT PURSUANT TO FED. R. CIV. P. 59(e) & FED. R. CIV. P. 60(b)
    AND FOR LEAVE TO FILE SECOND AMENDED COMPLAINT
               PURSUANT TO FED. R. CIV. P. 15(a)




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                                 INTRODUCTION

      Plaintiff’s Motion (“Mot.”), ECF Nos. 58-59, requests that the Court alter or

amend, or set aside, its March 6, 2023 Order and Judgment pursuant to Rule 59(e)

and/or Rule 60(b), and grant Plaintiff leave pursuant to Rule 15 to file a Second

Amended Complaint (“SAC”), in which Plaintiff alleges facts concerning newly

discovered evidence that addresses the very issues identified by the Court in its

Opinion and Order of dismissal (collectively, “Order”).

      Defendant’s Response (“Resp.”), ECF No. 70, raises a number of challenges,

none of which is persuasive. Defendant argues that the newly discovered evidence

is not sufficiently new—and that a plaintiff, in order to avoid dismissal with prejudice

and without leave to amend, must immediately seek leave to amend a complaint

upon receipt of such evidence—even where a motion to dismiss the complaint is

under submission before the court, where the plaintiff believes he has stated a claim

and that the motion should be denied, but where ultimately the plaintiff has no way

of knowing how the motion will be resolved (or what deficiencies in the complaint

the court may identify). That is not the law. Requiring a plaintiff to seek leave to

amend before a motion to dismiss the complaint pursuant to Rule 12(b)(6) is

resolved would result in seriatim motions to amend even where an amendment is

unnecessary, wasting valuable judicial resources preparing decisions on motions to

dismiss that are ultimately rendered moot by amended pleadings, and needlessly


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wasting litigants’ time in violation of Rule 1’s mandate for a speedy resolution.

Defendant’s argument would prove far too much.

      Defendant’s own caselaw does not support this drastic notion, and such a rule

would produce absurd results. Indeed, Plaintiff received much of the new evidence

serving as the basis for his new allegations on a rolling basis over a period of several

weeks, continuing right up until the Court issued its Order—including important

evidence from               (SAC ¶ 7) hours before the Court issued its order.

Defendant next argues that the proposed amendment is futile because the proposed

SAC does not adequately plead disclosures in violation of the PPPA. However,

Defendant itself concedes that it made the disclosures that Plaintiff complains of in

his proposed amended pleading, and the allegations in the proposed amendment

plausibly suggest that those disclosures entitle Plaintiff to relief under the PPPA.

Rule 8 requires no more. The Court should decline Defendant’s invitation to dive

into the substance of Plaintiff’s underlying claim for relief in the course of resolving

this straightforward, procedural Motion.

                                    ARGUMENT

      According to Defendant, the new evidence that serves as the basis for the new

allegations in Plaintiff’s proposed SAC was in Plaintiff’s possession before the

adverse judgment was entered, and, as such, “the evidence is not ‘new’ for purposes




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of Rule 59(e) or Rule 60(b).” Resp. at 8-9, PageID.1827-28.1 That makes no sense.

Plaintiff had no need to allege facts concerning his recently discovered evidence

until the Court found that the allegations of now-dismissed FAC were insufficient to

state a claim for relief. Thus, the proper question is whether the facts Plaintiff seeks

leave to allege in his proposed SAC were already in his possession at the time he

filed the FAC. And the answer to that question is indisputably “no” – these are new

facts that Plaintiff only recently obtained in the course of formal discovery, well after

he had filed his FAC.

      Defendant misleadingly argues that “courts are clear that evidence predating

the adverse judgment does not qualify as ‘newly discovered.’” Resp. at 7,

PageID.1826. 2 Defendant cites to Sixth Circuit opinions where courts did not find


1
      Defendant cites Wright & Miller, Fed. Prac. & Proc. Civ. § 2859 (3d ed.
2022), yet omits a key portion of § 2859’s, discussing how “[u]nder both rules [59
and 60], the evidence must have been in existence at the time of the trial” (emphasis
added). Here, Plaintiff brought this Motion after discovering new, previously
unavailable evidence during the discovery process – evidence that therefore was “in
existence at the time of [any future] trial.” See id.
2
       Defendant’s Hernandez v. City of Saginaw, 2013 WL 4052632, at *4 (E.D.
Mich. Aug. 12, 2013) involved the denial of a request to amend a dismissal order
under Rule 59(e) relying on emails sent weeks before the dismissal because “‘[n]one
of this evidence is new.”’ Def.’s Resp. at 7, PageID.1826 (citing Hernandez). But
Hernandez involved a plaintiff seeking to vacate the plaintiff’s voluntary dismissal.
The plaintiff “[sought] relief from the order granting his motion to dismiss because
of his own actions and errors. He chose to seek dismissal of his complaint without
determining the applicable statute of limitations…His oversight, however, does not
establish the type of manifest injustice contemplated by Rule 59(e).” Hernandez,
2013 WL 4052632, at *3 (emphasis added). Here, Plaintiff did not “cho[ose] to seek

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an abuse of discretion in not permitting “new” evidence. But there is no rule that any

evidence in existence is not new if it is possessed even a day prior to entry of a

judgment of dismissal, as Defendant would have the Court believe; rather, the Sixth

Circuit has consistently weighed a number of factors in its analysis, such as Rule

60’s and examining “reasonable diligence.” 3 See Fed. R. Civ. P. 60(b) (“On motion

and just terms, the court may relieve a party…from a final judgment, order, or

proceeding for the following reasons: …(2) newly discovered evidence that, with

reasonable diligence, could not have been discovered in time to move for a new trial

under Rule 59(b).”) (emphasis added); see, e.g., Alpern v. UtiliCorp United, Inc., 84

F.3d 1525, 1535 (8th Cir. 1996) (plaintiffs entitled to have motion for relief from

summary judgment on grounds of newly discovered evidence considered, even

where plaintiffs had possessed this evidence when summary judgment entered).

      Here, Plaintiff exercised reasonable diligence—reviewing and analyzing the

information provided through discovery as it was presented. The material presents a



dismissal of his [FAC]”—rather, the Court dismissed the FAC over Plaintiff’s strong
opposition. Plaintiff here did just what the court indicated the Hernandez plaintiff
should have done, wait for the Court to issue its order “determining” the threshold
issue—here, the sufficiency of the FAC’s allegations—prior to seeking leave to file
a SAC with new allegations (concerning recently discovered evidence) to cure the
deficiencies with the FAC that the Court identified.
3
      “The same standard applies to motions on the ground of newly discovered
evidence whether they are made under Rule 59 or Rule 60(b)(2).” Wright & Miller,
Fed. Prac. & Proc. Civ. § 2859 (3d ed. 2022).

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complex interconnected web of relationships, which reveals that Plaintiff’s

information, and that of Class Members, has been wrongly disclosed in violation of

the PPPA. Plaintiff exercised reasonable diligence in obtaining this newly

discovered evidence, including participating in motion practice to obtain it. While

Defendant’s Motion to Dismiss was under submission before the Court, the Parties

exchanged initial disclosures and discovery commenced. Plaintiff served written

discovery requests to Defendant and subpoenaed third parties identified in

Defendant’s initial disclosures for documents, ESI, and information relevant to

Plaintiff’s claims. It was through these efforts, i.e., Plaintiff’s diligence, that Plaintiff

recently obtained new evidence from Defendant and relevant third parties that adds

strong support for Plaintiff’s PPPA claim. See Mot., PageID.1714-22.

       Defendant contends that “Plaintiff anchors his proposed amendment on

‘newly discovered evidence’ produced “well before the Court’s dismissal of his

complaint,” and that it “made its initial disclosures on September 30, 2022, well

before the November 4, 2022 deadline the Court imposed for parties to move to

amend their pleadings.” Resp. at 9-10, PageID.1828-29. However, the new evidence

that serves as the basis for Plaintiff’s new allegations is not Defendant’s initial

disclosures, but rather evidence obtained from Defendant and relevant third parties

in response to targeted requests for production and subpoena. Defendant’s

disclosures merely assisted Plaintiff in determining who to subpoena. And after


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Plaintiff subpoenaed third parties identified in Defendant’s initial disclosures, and

after the targets of those subpoenas were provided extensions in which to comply,

Plaintiff received important new evidence responsive to his subpoenas over several

weeks right up to the Court’s Order on March 6, 2023, including from           mere

hours before this Order. See Exhibit A hereto, Declaration of Philip Fraietta at ¶ 3.

      Defendant also incorrectly argues that Nashel v. New York Times, 2022 WL

6775657 (E.D. Mich. Oct. 11, 2022) “put Plaintiff on notice that a PPPA claim based

on an obsolete ‘data card’ will not survive a Rule 12(b)(6) motion to dismiss.” Resp.

at 5, PageID.1824. But Nashel is non-binding and is readily distinguishable. The

Nashel plaintiffs pointed to data cards from 2007-2008 to support allegations of

disclosures eight years later. See Nashel, 2022 WL 6775657, at *5. Here, the data

card post-dates the period (ECF No. 11, 2/28/2022 data card), and, as the information

is cumulative of that collected in the past (id., “COUNTS THROUGH 02/28/2022”),

Plaintiff had a reasonable belief that the allegations were sufficient. Other courts,

prior to the Court’s March 6, 2023 Order, have agreed. See Briscoe v. NTVB Media

Inc., 2023 WL 2950623 (E.D. Mich. Mar. 3, 2023) (finding similar allegations,

including a post-dated data card, to be adequate in sufficiently alleging claim); see

also Batts v. Gannett Co., 2023 WL 3143695 (E.D. Mich. Mar. 30, 2023) (post-

3/6/23 decision holding the same); Gaines v. Nat’l Wildlife Fed., 2023 WL 3186284

(E.D. Mich. May 1, 2023) (same).


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       Further, discovery has revealed—as described in Plaintiff’s proposed SAC—

that Defendant

        at least once a month throughout the relevant pre-July 31, 2016 period for,

inter alia, data appending, modeling, data exchange (including prospecting via data

cooperatives), and list rental purposes, pursuant to contracts between Defendant and

each of these data companies. See SAC ¶¶ 6-15, PageID.1673-79.

      Even if Nashel somehow changed how district courts should apply Rules 8

and 12 in PPPA cases (and it did not, nor could it), Plaintiff—despite his reasonable

diligence—had yet to receive the additional corroborating evidence, received hours

prior to the Court’s Order. A plaintiff is not required to amend upon receipt of any

probative evidence throughout discovery—no Court has required such a practice

and surely judicial efficiency would be lost with each additional request to amend.

      Defendant further argues that there is no “manifest injustice” because

“nobody has ‘deprived’ Plaintiff of the opportunity to bring an amended complaint

based on these supposedly ‘new facts.’” Resp. at 11, PageID.1830. However, there

is no concrete rule that pre-judgement evidence cannot qualify as “new” under Rules

59(e) or 60(b). Plaintiff exercised reasonable diligence, uncovering new, previously

unavailable evidence during discovery, some as recently as a week prior to filing

this Motion (hours before the Court’s Order). See Ex. A; PageID.1723.

      Defendant claims that Michigan Flyer LLC v. Wayne Cty. Airport Auth., 860


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 F.3d 425, 431 (6th Cir. 2017) “is on point” and that there is no manifest injustice

 because Plaintiff chose to wait for dismissal before moving to amend. See Resp. at

 11-12, PageID.1830-31. However, Michigan Flyer itself acknowledges that it is

 readily distinguishable, discussing the differences between it and Morse v.

 McWhorter, 290 F.3d 795 (6th Cir. 2002); Morse permitted amendment where new

 facts—as opposed to new legal arguments—were obtained just prior to the order of

 dismissal. See Michigan Flyer, 860 F.3d at 432 (“Morse concerned factual

 allegations rather than legal issues, as are presented in this case…[here] however,

 Plaintiffs proposed to add a new claim altogether.”). Defendant acknowledges this

 distinction, arguing that the Michigan Flyer plaintiff there had been “well aware of

 arguments” but “strategically…proceeded[.]” Resp. at 11-12, PageID.1830-31

 (citing Michigan Flyer, 860 F.3d at 431) (emphasis added). Here, Plaintiff’s Motion

 was not the product of any “wait and see” strategic decision concerning legal

 arguments, Resp. at 12, PageID.1831, but in response to the Court’s Order of

 dismissal, which was based on Plaintiff’s purported failure “to plead sufficient

 factual matter to support a plausible claim.” Op., PageID.1602. Plaintiff’s

 amendments concern previously unavailable factual evidence obtained during

 discovery; Plaintiff believed (as he was entitled to) that his FAC adequately stated a

 claim for relief; Plaintiff was in the process of analyzing new evidence in response

 to third-party subpoenas when this Court issued its Order on March 6, 2023; and


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 Plaintiff acted promptly, filing the Motion days after the March 6 Order to cure the

 deficiencies identified by the Court.4

       Defendant next contends that “Rule 15(a) forecloses Plaintiff’s request for

 leave” “because the proposed amendment is futile, and the product of bad faith and

 dilatory tactics.” Resp. at 12, PageID.1831. Nothing could be further from the truth.

 Defendant relies upon a spreadsheet, Ex. 2 to Resp., purportedly indicating that

 Plaintiff’s affirmatively requested that Defendant not rent his information.

 Defendant contends that Plaintiff “omits any mention of his opt-out status” in his

 Motion or SAC, and that “[t]his fact is fatal to Plaintiff’s PPPA claim, confirming

 that Defendant did not disclose his information in violation of the PPPA.” Resp. at

 13, PageID.1832.

       But this argument fails for multiple reasons. First, at this stage, Plaintiff’s

 allegations are to be accepted as true. Further, Defendant itself admits that it

                                          , stating:



                                  [.]’” Resp. at 14, PageID.1833. But Defendant was

 more than a mere                                                                ; for


 4
        Defendant’s reliance on Leisure Caviar, LLC v. U.S. Fish and Wildlife Serv.,
 616 F.3d 612, 616-17 (6th Cir. 2010) is also misplaced. In Leisure Caviar, the court
 found that the plaintiffs knew, or were on notice of, the “new evidence” at the time
 they filed their original complaint, and failed to come forward with any evidence to
 corroborate an additional cause of action. See id. at 616-17.

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 example,




         Disclosures for purposes of data appending, like the disclosures

                   , are plainly actionable under the PPPA. See Boelter v. Hearst

 Commc’ns, Inc., 269 F. Supp. 3d 172, 201-02 (S.D.N.Y. 2017) (granting plaintiff’s

 motion for summary judgment in a PPPA case based on disclosures to Experian).

       But the Court need not resolve such issues now. At this stage,

                                               did not violate the PPPA is plainly

 insufficient to override Plaintiff’s allegations that plausibly establish that these

 disclosures did violate the PPPA. See proposed SAC at ¶¶ 7, 11. Plaintiff’s

 allegations must be accepted as true, and they readily satisfy the Iqbal/Twombley

 standard because they plausibly give rise to a claim for relief under the PPPA. See,

 e.g., Gaines, 2023 WL 3186284, at *5 (denying motion to dismiss where defendant

 argued alleged disclosures were not violative of the PPPA and holding that “this

 argument is an attempt to hold [plaintiff] to an inapplicable evidentiary standard at

 the pleading stage”). Further, any request by Plaintiff does not establish that

 Defendant did not in fact rent Plaintiff’s information contrary to his purported

 request; in many prior cases, Plaintiff’s counsel encountered defendants who


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 disclosed data of subscribers who had the same type of do-not-rent flag associated

 with their names, and that appears to be exactly what happened here given

 Defendant’s concession that it

 is just the tip of the iceberg—Plaintiff has not even had a full opportunity to take

 discovery.

           Based on the do-not-rent flag in its database for Plaintiff, Defendant then leaps

 to the merits-conclusion that “Defendant did not disclose his information in violation

 of the PPPA.” Resp. at 13, PageID.1832. But Plaintiff’s proposed SAC is not limited

 to allegations that Defendant rented his information. Plaintiff alleges that Defendant

 “rented, exchanged, and/or otherwise disclosed,” Plaintiff’s information, including

 specifically to data appenders like               for list-enhancement purposes. See, e.g.,

 SAC, ¶¶ 1-15. 5 Thus, it can hardly be said that this renders Plaintiff’s proposed SAC

 futile.

           Defendant further argues that the proposed SAC contains an “absence of

 allegations plausibly supporting that Defendant disclosed Plaintiff’s information

 during the relevant time period.” Def’s Resp. at 14, PageID.1833 (citing Bozung,

 2023 WL 2385004, at *4-6). Defendant’s argument fixates solely on the 2022

 datacard attached to the FAC, overlooking the additional allegations in the proposed


 5
        Defendant even acknowledges this. Resp. at 13, PageID.1832 (stating that
 “Plaintiff alleges that Defendant ‘rented, exchanged, and/or otherwise disclosed’
 Plaintiff’s ‘detailed information’”).

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 34 (citing Mot. at 15-16). But the Motion merely states that “allowing the proposed

 amendment would serve the interests of judicial efficiency,” and “[a]llowing the

 proposed amendment would be a far more efficient and prudent course forward” as

 opposed to Plaintiff (or another putative class member) filing a separate case. See

 Mot. at 15-16, PageID.1723-24. 6 To be clear: if this Motion is denied, Plaintiff will

 both (1) appeal the dismissal and denial of the instant Motion, (2) and, to protect the

 interests of the proposed class from statute of limitation-based defenses, initiate a

 new action.

       Indeed, this Court’s Order did not foreclose the possibility of amendment,

 dismissing Plaintiff’s FAC without prejudice, stating that “[a]t this stage…the Court

 cannot say that no amendment would be warranted, or that no amendment could save

 the complaint.” Op., PageID.1603. The Court acknowledged that Plaintiff “ask[ed]

 the Court to give him leave to amend his complaint, in the event the Court decide[d]

 that his allegations [were] not sufficient” while stating that “the Court generally does

 not consider a request to amend a complaint without a proposed amended

 complaint.” Id. This is precisely what Plaintiff has come forward with: a proposed



 6
         Defendant contends that “Plaintiff clearly filed his original complaint based
 on little to no investigation, and did so to obtain free discovery[.]” See id. at n.3. But
 the information obtained in discovery is the exact type of information that would be
 in the possession of Defendant and third-parties with which Defendant contracts.
 These surreptitious relationships are difficult for any PPPA plaintiff to pierce absent
 precisely the discovery that took place here.

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 SAC alleging facts concerning newly discovered evidence that addresses the issues

 identified by the Court’s Order.

       Defendant further contends that “Plaintiff’s decision to delay seeking leave to

 file the proposed SAC until after the Court’s dismissal of his PPPA claim constitutes

 undue delay and requires denial of his Rule 15(a) request.” Resp. at 15,

 PageID.1834. There is no undue delay, bad faith, or dilatory motive here in seeking

 leave to file his proposed SAC, and Rule 15(a) mandates that leave to amend a

 pleading be freely given. See, e.g., Hahn v. Star Bank, 190 F.3d 708, 715 (6th Cir.

 1999) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962) (“[I]n the absence of any

 apparent or declared reason—such as undue delay, bad faith or dilatory motive on

 the part of the movant, repeated failure to cure deficiencies by amendments

 previously allowed, undue prejudice to the opposing party by virtue of allowance of

 the amendment, futility of amendment, etc.—the leave sought should, as the rules

 require, be ‘freely given.’”). Plaintiff was in the process of analyzing discovery that

 strongly supports the notion that Defendant wrongfully disclosed the information of

 Plaintiff and putative Class Members in violation of the PPPA during the relevant

 period, including discovery received mere hours before the Court’s Order.

       Further, Defendant would not be prejudiced by allowing Plaintiff to file his

 proposed SAC. Defendant was put on notice wherein the Court left open the

 possibility of an amendment. Op., PageID.1603. Nor does Plaintiff’s SAC overhaul


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 Plaintiff’s case, add claims, nor legal theories, such as in Defendant’s Michigan

 Flyer; rather, it presents allegations curing factual defects that this Court believed

 were present in Plaintiff’s FAC. Defendant’s Response is evidence of the fact that

 Defendant has even begun the process of countering Plaintiff’s proposed SAC.7

       Defendant also argues that “[t]he proposed SAC…should be denied as further

 evidence of bad faith by Plaintiff[,]” arguing that Defendant’s documents confirm

 that Plaintiff “                                                               ” Def.’s

 Resp. at 15, PageID.1834.8 This is misleading and contradicted by Defendant.


 7
        See, e.g., Morse, 290 F.3d at 800–01 (“With respect to potential prejudice…it
 also does not appear that [defendant] would be significantly prejudiced by allowing
 plaintiffs to file their proposed second amended complaint. The [decision] put
 [defendant] on notice that plaintiffs would seek to amend…[defendant] also does not
 have to substantially revise any present defense strategy because the plaintiffs’
 proposed second amended complaint does not add new substantive claims or
 overhaul plaintiffs’ theory of the case, but merely attempts to remedy the defects
 identified by the magistrate. [Defendant] has even begun the process of dismantling
 plaintiffs’ proposed second amended complaint…We recognize [defendant] will be
 inconvenienced by another round of motion practice, but given…the competing
 interest of the proposed class, such inconvenience does not rise to the level of
 prejudice that would warrant denial of leave to amend.”). A similar lack of prejudice
 exists here.
 8
        In Defendant’s Bailey v. Papa John’s USA, Inc., 236 F. App’x 200, 205 (6th
 Cir. 2007), however, the plaintiff pursued a claim to summary judgment “after the
 evidence clearly demonstrated that there was no factual basis to support the claim”
 and that “it was clear before the summary judgment stage” that the claim lacked the
 necessary factual basis and evidentiary support, and the plaintiff “either knew, or
 reasonably should have known” that the claim was meritless. Id. at 202-06. Here,
 Plaintiff seeks to amend to add newly discovered evidence that addresses the very
 issues noted in the Court’s Order, providing a clear factual basis.


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 Defendant admits that, not only was Plaintiff’s

                           ’” See supra; Resp. at 14, PageID.1833; see also proposed

 SAC at ¶¶ 7, 11.9

       At the heart, rather than gamesmanship or reframing legal arguments,

 Plaintiff’s Motion, filed days after the Dismissal Order, merely seeks to amend the

 operative complaint with a proposed SAC that adds allegations concerning facts that

 Plaintiff uncovered during discovery, including as recently as hours prior to the

 Court’s Order. See PageID.1723.

                                   CONCLUSION

       For the reasons above, Plaintiff respectfully requests that this Court grant his

 Motion.


 Dated: May 4, 2023                     Respectfully submitted,
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                                        888 Seventh Avenue

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       Defendant argues that Plaintiff improperly relies on stricken discovery which
 allegedly contradicts other documents previously produced. Resp. at 16,
 PageID.1835. But Defendant fails to identify any such purportedly contradictory
 documents.

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                CERTIFICATE REGARDING WORD COUNT

       Plaintiff, following LCivR 7.3(b)(i)-(ii), used 4,296 words in Plaintiff’s

 foregoing Brief. Microsoft Word for Office 365 Business version 1910 is the word

 processing software used to generate the word count in the attached Brief.

 Dated: May 4, 2023                    Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2023, I electronically filed the foregoing

 documents using the Court’s electronic filing system, which will notify all counsel

 of record authorized to receive such filings.


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                       Exhibit A




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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN


  TIMOTHY BOZUNG, individually and on
  behalf of all others similarly situated,         Case No. 1:22-cv-00304-HYJ-RSK

                                                   Honorable Hala Y. Jarbou
                      Plaintiff,
                                                   PLAINTIFF’S MOTION
        v.
                                                   JURY TRIAL DEMANDED
  CHRISTIANBOOK, LLC f/k/a
  CHRISTIAN BOOK DISTRIBUTORS
  CATALOG, LLC,


                      Defendant.

                   DECLARATION OF PHILIP L. FRAIETTA

 I, Philip L. Fraietta, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am a partner at Bursor & Fisher, P.A., one of the counsel of record

 for Plaintiff Timothy Bozung (“Plaintiff”) in this action. I am an attorney at law

 licensed to practice in the States of Michigan, New York, New Jersey, and Illinois,

 and I am a member of the bar of this Court. I have personal knowledge of the facts

 set forth in this declaration and, if called as a witness, I could and would testify

 competently thereto.

       2.     I make this declaration in support of Plaintiff’s unopposed motion for

 preliminary approval of class action settlement filed herewith. Motion for Relief

 From Judgment Pursuant to Fed. R. Civ. P. 59(e) & Fed. R. Civ. P. 60(b) and for
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 Leave to File Second Amended Complaint Pursuant to Fed. R. Civ. P. 15(A).

       3.     On March 6, 2023, as one of the counsel for Plaintiff, I received

 certain discovery material in this matter from

              .

       4.     Attached hereto as Exhibit 1 is a copy of the cover letter from

            which references the discovery material being transmitted to counsel for

 Plaintiff on March 6, 2023.

       5.     This material was received mere hours before the Court’s issuance of

 its March 6, 2023 Opinion and Order, ECF Nos. 51 and 52.

       I declare under penalty of perjury that the above and foregoing is true and

 accurate. Executed this 3rd day of May at New York, New York.




                                                  Philip L. Fraietta




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                       Exhibit 1




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                       Exhibit B
                             (filed under seal)




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